          Case 1:21-cr-00452-TFH Document 14 Filed 08/04/21 Page 1 of 1
NOTICE OF APPEARANCE IN A CRIMINAL CASE


                                    CLERK'S OFFICE
                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
                                WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA

                                                     Criminal Number       1:21-cr-00452-TFH
         vs.


Kenneth John Reda
               (Defendant)




TO:      ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:               (Please check one)


  □      CJA                 �     RETAINED            □    FEDERAL PUBLIC DEFENDER




                                               :b[),�
                                            PLEASE PRINT THE FOLLOWING INFORMATION:

                                          Terrence O'Sullivan Bar ID FL0094
                                                       (Attorney & Bar ID Number)
                                          Terrence O'Sullivan Law, P.A.
                                                                (Firm Name)

                                          1250 W. Eau Gallie Blvd, Ste G.
                                                               (Street Address)

                                          Melbourne, Florida 32935
                                            (City)               (State)          (Zip)
                                          321-848-2144, 321-422-2882
                                                             (Telephone Number)
